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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                              )
                                                      )
v.                                                    )
                                                      )      Crim. No. 19-10141-LTS
(1) SHELLEY M. RICHMOND JOSEPH and                    )
(2) WESLEY MACGREGOR                                  )
                                                      )
                      Defendants.                     )

           JOINT MOTION TO CONTINUE FINAL STATUS CONFERENCE

       The parties respectfully request that the final status conference scheduled for tomorrow be

continued for 30 days in light of the defendants’ pending discovery motions, Doc. Nos. 32, 33.

                                            Respectfully submitted,

                                            ANDREW E. LELLING
                                            UNITED STATES ATTORNEY

                                            By: /s/ Christine Wichers
                                            Dustin Chao
                                            Christine Wichers
                                            Assistant U.S. Attorneys


 SHELLEY M. RICHMOND JOSEPH                         WESLEY MACGREGOR
 By her attorneys,                                  By his attorney,


 /s/ Thomas M. Hoopes                               /s/ Rosemary Scapicchio
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                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) on September
9, 2019.

                                              /s/ Christine Wichers
                                              Christine Wichers
                                              Assistant U.S. Attorney




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